     Case 1:14-cr-00226-DAD-BAM Document 129 Filed 04/20/18 Page 1 of 2


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 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       Case No. 1:14-cr-00226-DAD-BAM-5
12                      Plaintiff,
13          v.                                       STIPULATION AND ORDER TO
                                                     CONTINUE CHANGE OF PLEA
14   VICTOR ALFONSO PEREZ VIRGEN,                    HEARING
15                      Defendant.
16

17          IT IS HEREBY STIPULATED by and between the parties hereto and through their

18   respective attorneys of record herein that the Change of Plea hearing in the above-referenced

19   action now scheduled for April 23, 2018 be continued to May 29, 2018 at 10:00 a.m.

20          IT IS FURTHER STIPULATED that good cause exists to exclude time until the new date

21   of May 29, 2018.

22          The continuance of the Change of Plea hearing is being requested by the parties due to an

23   unforeseen conflict in defense counsel’s schedule.

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     Case 1:14-cr-00226-DAD-BAM Document 129 Filed 04/20/18 Page 2 of 2


 1   IT IS SO STIPULATED.

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 3                                                Respectfully Submitted

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 5   DATED: April 19, 2018                        By: /s/ Peter M. Jones
                                                  Peter M. Jones, Attorney for Defendant
 6                                                Victor Alfonso Perez Virgen
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 8   DATED: April 19, 2018                        By: /s/ Kathleen Servatius
                                                  Kathleen Servatius, Attorney for
 9                                                Plaintiff United States of America
10

11                                               ORDER

12          The court has reviewed and considered the stipulation of the parties to continue the

13   change of plea hearing in this case. Good cause appearing, the change of plea hearing as to

14   Victor Alfonso Perez Virgen currently set for April 23, 2018, is continued to May 29, 2018, at

15   10:00am. The time period between April 23, 2018 and May 29, 2018 is excluded under the

16   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv), as the ends of justice

17   served by granting the continuance outweigh the best interest of the public and the defendant in a

18   speedy trial.

19   IT IS SO ORDERED.
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        Dated:       April 19, 2018
21                                                       UNITED STATES DISTRICT JUDGE

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